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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

Flip Clip Technology, LLC                    )
                                             )
v.                                           )      Case No. 18-cv-8545
                                             )
THE PARTNERSHIPS and                         )      Judge: Hon. Andrea R. Wood
UNINCORPORATED ASSOCIATIONS                  )
IDENTIFIED ON SCHEDULE “A,”                  )      Magistrate: Hon. Susan E. Cox
                                             )
                                             )
                                             )


                               SATISFACTION OF JUDGEMENT

        Plaintiff, in accordance with FRCP 60(b)(5), having reached a post-default settlement

agreement with the Doe Defendants listed below:

 Doe       Store Name                                              Store ID
 2         BeadsMonster                                            A24U8QJGO4LR0C
 3         HatHat Ebt                                              A2GNGR04PS8OR1
 4         Irismaru                                                ANUPEK61YZNTT
 5         Just Your Beauty                                        A3NPSSCHEPEEKL
 6         love & cute                                             A3HDI4SAU2O0L8
 67        dohia                                                   5565db88382f8a19e85c1ee7
 69        dreamlife                                               53be59d3d9113970da2571ef
 82        faith808                                                57b17ed25de2f218cdf05076
 92        for8ward                                                57c7ea137cdb5a1c9f850da0
 98        globalsupermarket                                       53b7a11838d30461f1f08b71
 99        goldenlion                                              57343861ef77745f5b9ea102
 106       happysky8                                               5473163e5f313f0449f83520
 124       itianchen                                               58e65a21ff783c0f92bcd185
 218       shrco                                                   598ab94223827079f1beb309
 240       thriving100                                             57c7cdefd6d8a749ce3af8ba
 245       torridity                                               5793228fba8cd234a7507a56
 311       belleworld                                              belleworld
 320       Ali-The World of Dresses Store                          3413026
 321       JETTINGJewelry Store                                    2490087
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 322      Garment&Accessories Store                                 3866067
 323      Woman Wardrobe Store                                      712094
 324      MissJa Store                                              4047085
 325      Funny bag Store                                           3249044
 326      QIUWU Clothes Store                                       3254053
 328      Corner met Store                                          3623068
 328      Corner met Store                                          3623068
 331      HWetR Jewellery Store                                     3882022
 331      HWetR Jewellery Store                                     3882022
 332      Sunny569448 Store                                         3894006
 332      Sunny569448 Store                                         3894006
 333      Ali-ladieswear Store                                      3275029
 334      Playgirl Store                                            2781153
 340      CLJ Beside Store                                          2906136
 341      Ali-KvJJL Store                                           4279007



dismisses them from the suit without prejudice.

Dated this 16th Day of September, 2019.               Respectfully submitted,


                                            By:         s/David Gulbransen/
                                                      David Gulbransen
                                                      Attorney of Record
                                                      Counsel for Plaintiff

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